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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

                                   7

                                   8     RJ, et al.,                                       Case No. 5:20-cv-02255-EJD
                                                        Plaintiffs,                        ORDER DENYING ADMINISTRATIVE
                                   9
                                                                                           MOTION TO MODIFY CASE
                                                  v.                                       MANAGEMENT ORDER
                                  10

                                  11     VIANT, INC., et al.,
                                                                                           Re: Dkt. No. 90
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




                                  13           Upon consideration of Defendants Cigna Health and Life Insurance Company (“Cigna”) and

                                  14   MultiPlan, Inc.’s (“MultiPlan,” and, together with Cigna, “Defendants”) Administrative Motion to

                                  15   Modify the jointly stipulated Case Management Order (Dkt. No. 78), the Court hereby ORDERS that

                                  16   the Motion is DENIED.

                                  17           The Court reminds the parties of their obligations under the Northern District of California

                                  18   Civil Local Rules to act in good faith when they meet and confer (Civ. L.R. 1-5(n)).

                                  19           IT IS SO ORDERED.

                                  20   Dated: August 10, 2021

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                                                                                                    EDWARD J. DAVILA
                                  23                                                                United States District Judge
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                                       Case No.: 5:20-cv-02255-EJD
                                  28   ORDER DENYING ADMINISTRATIVE MOTION TO MODIFY CASE MANAGEMENT
                                       ORDER
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